Case 1:20-cv-20079-AHS Document 144 Entered on FLSD Docket 05/03/2021 Page 1 of 13




                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                 Case No. 1:20-cv-20079-SINGHAL/LOUIS


   BRUCE MUNRO, et al.,

                   Plaintiffs,

   v.

   FAIRCHILD TROPICAL BOTANIC
   GARDEN, INC., et al.,

                   Defendants.


                         DEFENDANTS’ 1 OMNIBUS MOTION IN LIMINE

            Pursuant to Local Rule 7.1, the Federal Rules of Evidence and related case law, and the

   Court’s Scheduling Order (DE [27, 94]), Defendants respectfully move to exclude certain record

   evidence and potential testimony from trial as follows:

            (1)    Statutory Damages: Plaintiffs should be precluded from introducing any evidence

   or testimony as to statutory damages for direct or contributory infringement.

            (2)    Actual Damages: Plaintiffs should be precluded from seeking damages for

   emotional distress and reputation.

            (3)    Defendants’ Profits and Financial Condition: Plaintiffs should be precluded from

   introducing evidence of Defendants’ general financial condition.

            (4)    Claims of Willful Infringement/Enhanced Damages: Because Plaintiffs are

   limited to actual damages for direct and contributory infringement claims (see Defendants’

   Motion for Summary Judgment, filed contemporaneously herewith. (“MSJ”)), the Court should

   bar any testimony or argument as to willfulness or enhanced damages for those claims.
   1
       The term “Defendants” excludes Defendant Zhongshan G-Lights Lighting Co., Ltd.
Case 1:20-cv-20079-AHS Document 144 Entered on FLSD Docket 05/03/2021 Page 2 of 13




          (5)       Unrelated Claims: No unrelated claims of infringement (i.e., any claims of

   copyright infringement other than specifically alleged in the operative complaint) should be

   mentioned or heard at trial because such testimony is speculative, irrelevant and unfairly

   prejudicial to Defendants.

          (6)       Claims That Defendants Withheld Documents or Abused the Discovery Process:

   Plaintiffs have claimed that Defendants have abused the discovery process and failed to produce

   documents. Those claims are false, and any such argument would be irrelevant and unfairly

   prejudicial to Defendants.

          (7)       Insurance: No insurance policy or insurance-coverage topic should be mentioned

   or heard at trial because such evidence or argument would be irrelevant and unfairly prejudicial

   to Defendants.

          (8)       Selection and Arrangement: Plaintiffs have admitted that they are not claiming

   Defendants infringed the selection and arrangement of their lights. They should be precluded

   from introducing any testimony or evidence on selection and arrangement.

          (9)       Evidence Plaintiffs Failed to Produce During Discovery: Plaintiffs should be

   precluded from introducing any documents not otherwise disclosed during discovery.

          The factual and legal grounds for this motion in limine are set forth in the following

   Memorandum of Law.

                                      MEMORANDUM OF LAW

      A. Legal Standard.

          It is well-settled that federal trial courts have the inherent power to make in limine

   evidentiary rulings pursuant to their authority to manage the course of trials. See e.g., Luce v.

   U.S., 469 U.S. 38, 41 n.4 (1984) (citing Fed. R. Evid. 103(c)). The general purpose of a motion




                                                     2
Case 1:20-cv-20079-AHS Document 144 Entered on FLSD Docket 05/03/2021 Page 3 of 13




   in limine “is to aid the trial process by enabling the Court to rule in advance of trial on the

   relevance of certain forecasted evidence, as to issues that are definitely set for trial, without

   lengthy argument at, or interruption of, the trial.” Royale Green Condo. Ass’n, Inc. v. Aspen

   Specialty Ins. Co., No. 07-CIV-21404, 2009 WL 2208166 (S.D. Fla. July 24, 2009) (granting

   defendant’s motion in limine to exclude statements of damages as prejudicial). “Irrelevant

   evidence is not admissible.” Fed. R. Evid. 402.

          A motion in limine is proper to prevent a party from introducing information to the jury

   that would prejudice the opposing party through the mere mention of it. See, e.g., Stewart v.

   Hooters of Am., Inc., No. 8:04-CV-40-T-17-MAP, 2007 WL 1752873, at *1 (M.D. Fla. June 18,

   2007) (granting motion in limine and noting “[t]he real purpose of a Motion In Limine is to give

   the trial judge notice of the movant’s position so as to avoid the introduction of damaging

   evidence, which may irretrievably affect the fairness of the trial.”) Accordingly, when evidence

   is clearly inadmissible, the Court should grant the motion in limine. The Court should grant this

   motion and exclude these matters from trial.

      B. Specific Matters to Be Excluded.

          1. Discussion about Statutory Damages (Count I and II) Should be Excluded.

          Statutory damages should be excluded on two grounds. First, it is clear that unregistered

   works are not eligible for statutory damages or attorneys’ fees. Second, because the alleged

   infringement commenced prior to the one United States registration at issue, that work is also not

   eligible for statutory damages or attorneys’ fees.

          Plaintiffs claim infringement concerning one registered United States work (Forest of

   Light at Longwood Gardens), some unregistered United States works, and several unregistered

   United Kingdom works. The Copyright Act provides that “only owners of registered works may

   collect statutory damages and attorney’s fees.” Kernel Records Oy v. Mosley, 694 F.3d 1294,


                                                      3
Case 1:20-cv-20079-AHS Document 144 Entered on FLSD Docket 05/03/2021 Page 4 of 13




   1302–03 (11th Cir. 2012) (citing 17 U.S.C. §§ 412, 504, 505 and noting that owners of foreign

   works may choose to apply for U.S. registration to receive the benefits of statutory damages and

   attorneys’ fees); Vergara Hermosilla v. The Coca-Cola Co., 717 F. Supp. 2d 1297, 1304 (S.D.

   Fla. 2010), aff’d sub nom. Hermosilla v. Coca-Cola Co., 419 F. App’x 917 (11th Cir. 2011)

   (“foreign copyright holders do not need to register in the United States unless they seek statutory

   damages or attorneys’ fees”) (citing Rudnicki v. WPNA 1490 AM, 580 F.Supp.2d 690, 694 (N.D.

   Ill. 2008)).

           As noted in Defendants’ Motion for Partial Judgment on the Pleadings (DE [81]), and

   MSJ, Plaintiffs’ Amended Complaint (“FAC”) and various discovery responses 2 can be read to

   seek recovery of statutory damages for their unregistered United States and United Kingdom

   works. (DE [69] ¶¶ 163, 172, p. 73). In light of the clear law on this point, Defendants asked

   Plaintiffs to stipulate that they were not seeking statutory damages in Counts I and II for these

   unregistered works to simply narrow the issues, but they have refused to do so. Accordingly, the

   Court should bar Plaintiffs from seeking statutory damages for any works that are not registered

   with the U.S. Copyright Office. This includes the firefly light, a single stick-and-bulb light (as

   refused by the Copyright Office as a useful article, See SOF ¶¶ 20-22), and any other claimed

   unregistered “works.”

           Further, Plaintiffs cannot seek statutory damages or attorney’s fees for the United States

   registered Forest of Light work, either. As separately briefed in the MSJ, the sole registered work

   is not eligible for statutory damages or attorney’s fees either pursuant to 17 U.S.C. § 412 because

   the alleged infringement commenced in November 2018, prior to the August 2019 registration.



   2
     This includes a Third Amended R26 Disclosures served by plaintiffs today – the day of the
   dispositive motion deadline – that includes confusing objections and appears to limit their
   request for statutory damages to the Forest Registration, but is still unclear.


                                                     4
Case 1:20-cv-20079-AHS Document 144 Entered on FLSD Docket 05/03/2021 Page 5 of 13




   See MSJ p. 31-32; see also Motion for Judgment on the Pleadings (DE [81], p. 6-9). To that end,

   Defendants seek a limine ruling to exclude discussion or proffered testimony regarding measures

   of statutory damages or attorneys’ fees for all works under Count I and II for the stick-and-bulb

   and firefly lights.


           2. Evidence of Plaintiffs’ Improper Damages Evidence Should be Excluded.

           Plaintiffs seek actual damages for copyright infringement and DMCA violations,

   although Plaintiffs claim improper measures of damages.

           The Copyright Act entitles copyright owners to two types of compensatory damages:

   actual damages and infringers’ profits attributable to the infringement to the extent not calculated

   in actual damages. 17 U.S.C. § 504(a)(1), (b); Kent v. Revere, Civ. No.84-798-ORL-18, 1985

   WL 6453, at *8 (M.D. Fla. Oct. 28, 1985). Actual damages may include “lost sales, lost

   opportunities to license, or diminution in the value of the copyright,” or “the fair market value of

   a license covering the defendant’s use.” BWP Media USA Inc. v. HipHopzilla, Inc., No. 1:14-

   CV-0016-AT, 2016 WL 4059683, at *2 (N.D. Ga. May 26, 2016).

           Plaintiffs testified that their damages would include “mental damages” and emotional

   harm. SOF ¶ 108. Plaintiffs also testified that they have been damaged by potential loss of

   exclusivity and loss of reputation. SOF ¶ 109-10. Plaintiffs should be precluded from seeking

   these types of damages at trial. Emotional damage and/or mental distress is not a correct measure

   of damages under the Copyright Act. See Stern v. Does, 978 F. Supp. 2d 1031, 1050 (C.D. Cal.

   2011), aff'd sub nom. Stern v. Weinstein, 512 F. App’x 701 (9th Cir. 2013) (emotional distress is

   not compensable under the Copyright Act); See also Kelley v. Universal Music Grp., No. 14

   CIV. 2968 PAE, 2015 WL 6143737, at *7 (S.D.N.Y. Oct. 19, 2015) (same). Similarly, the

   Copyright Act does not explicitly provide for reputational damages. Viktor v. Top Dawg Ent.



                                                    5
Case 1:20-cv-20079-AHS Document 144 Entered on FLSD Docket 05/03/2021 Page 6 of 13




   LLC, No. 18 CIV. 1554 (PAE), 2018 WL 5282886, at *3 (S.D.N.Y. Oct. 24, 2018) (noting that

   the Copyright Act does not “by it explicit terms provide for reputational damages”). In sum,

   Plaintiffs 3 are complaining of damages that are irrelevant, speculative and not explicitly

   permitted under the Copyright Act. Allowing such testimony would be confusing, irrelevant and

   a waste of time. The Court should exclude evidence related to Plaintiffs’ purported emotional or

   reputational harm.

          3. Evidence of Defendants’ Financial Condition Should be Excluded.

          Plaintiffs seek Defendants’ profits under 17 U.S.C. § 504(b) (copyright infringement) and

   17 U.S.C. § 1203(c) (DMCA). To recover profits for copyright infringement or DMCA

   violations, a copyright owner must present proof of Defendants’ gross revenue reasonably

   related to the alleged infringement, not unrelated revenues. See Thornton v. J Jargon Co., 580 F.

   Supp. 2d 1261, 1280 (M.D. Fla. 2008).

          Plaintiffs should be precluded from introducing any evidence or testimony regarding

   Defendants’ overall financial earnings or general financial situation that have been produced in

   this case or that (in the case of non-profit Fairchild and Imaginer Ltd.) are otherwise publicly

   available. Any financial information outside of the NightGarden related revenues is not relevant

   to the question of what profits can be attributed to alleged infringement. And any probative

   value is “outweighed by the significant chance that it might prejudice Defendants by allowing

   the jury to seek proportionality between its damages award and Defendants’ overall financial

   condition.” Federal Rule of Evidence 403. Frank Betz Assocs., Inc. v. Scenic Homes, Inc., No.




   3
    As further outlined in the motion for summary judgment, Bruce Munro Ltd. (“Studio”) does not
   have standing to pursue any claims or recover damages in this case. MSJ, p. 5, n. 4).
   Accordingly, preclusion of actual damages as to the Studio is especially proper here.


                                                    6
Case 1:20-cv-20079-AHS Document 144 Entered on FLSD Docket 05/03/2021 Page 7 of 13




   1:08-CV-1216-ODE, 2010 WL 11507151, at *3 (N.D. Ga. Aug. 17, 2010) (precluding financial

   condition evidence and testimony).


           4. Evidence of Willful Copyright Infringement Should be Excluded.

           Because Plaintiffs are limited to actual damages for copyright infringement (Counts I and

   II), they should be barred from raising argument or introducing evidence related to Defendants’

   alleged willful conduct in connection with those claims.

           Under the Copyright Act, willful “means that the defendant ‘knows his actions constitute

   an infringement; the actions need not have been malicious.’” Yellow Pages Photos, Inc. v.

   Ziplocal, LP, 795 F.3d 1255, 1271 (11th Cir. 2015) (quoting Cable/Home Commc’n Corp. v.

   Network Prods., Inc., 902 F.2d 829, 851 (11th Cir. 1990)). Willfulness can also mean “reckless

   disregard of the possibility that one’s actions are infringing a copyright.” Id. at 1272. For claims

   of copyright infringement, willfulness factors into courts’ calculations of statutory damages or

   attorney’s fees. Clever Covers, Inc. v. Sw. Fla. Storm Def., LLC, 554 F. Supp. 2d 1303, 1310

   (M.D. Fla. 2008) (citing Chanel, Inc. v. Italian Activewear of Florida, Inc., 931 F.2d 1472, 1476

   (11th Cir.1991)).

           Courts have found that when statutory damages and attorney’s fees are not at issue, like

   in this case for Counts I and II, “there is no proper role for proof of willfulness . . . .” See

   Leonard v. Stemtech Health Sciences, Inc., 981 F. Supp. 2d 273, 279 (D. Del. 2013); Faulkner v.

   Nat’l Geographic Soc’y, 576 F. Supp. 2d 609, 613 (S.D.N.Y. 2008) (evidence of willfulness not

   relevant in claim limited to actual damages, as its “only function would be in service of an

   attempt by plaintiff to prejudice the jury’s assessment of damages and, if it proves to be in issue,

   liability by portraying defendants in an unflattering light.”) Here, statutory damages are not at




                                                      7
Case 1:20-cv-20079-AHS Document 144 Entered on FLSD Docket 05/03/2021 Page 8 of 13




   issue, and the Court should bar Plaintiffs from argument or the introduction of willfulness as to

   all works and alleged conduct in Counts I and II.


          5. Evidence of Unrelated Infringement Should be Excluded.

          In discovery, Defendants produced electronic “pitch decks,” with images and text with

   abstract themes for Defendants’ NightGarden events at Fairchild. Plaintiffs have claimed that

   Defendants committed infringement and/or DMCA violations by allegedly including images

   from the internet of Munro’s works in the pitch decks. Defendants have not received any demand

   or been sued for copyright infringement concerning any image in the pitch deck other than the

   images at issue in this lawsuit. Plaintiffs should be precluded from introducing any evidence of,

   and speculation about, purported copyright infringement or DMCA violations with respect to

   images in the pitch decks that are not at issue in this lawsuit, as such evidence would be

   irrelevant and prejudicial to Defendants.

          Evidence of potential third-party claims of infringement, especially where those claims

   are unrelated to the plaintiff’s intellectual property rights or did not involve either party

   previously, are generally non-discoverable and inadmissible. See, e.g., Smith v. Wal-Mart Stores,

   Inc., 475 F. Supp. 2d 1318, 1323 (N.D. Ga. 2007) (denying discovery request for third-party uses

   of trademarks). Such evidence or contentions here would be completely speculative, would

   confuse the jury, are inadmissible and should be excluded. Habersham Plantation Corp. v.

   Molyneux, No. 10-61526-CIV, 2011 WL 13216995, at *9 (S.D. Fla. Dec. 5, 2011) (precluding

   any mention of unrelated infringement under F.R.E. 401, 402, and 403).




                                                      8
Case 1:20-cv-20079-AHS Document 144 Entered on FLSD Docket 05/03/2021 Page 9 of 13




          6. Evidence of Defendants’ Perceived Discovery Abuses and Deficiencies Should be
             Excluded.

          Despite taking almost no action to correct any perceived deficiencies, Plaintiffs blame

   Defendants for purportedly not complying with the discovery process. (DE [101, 105]). Plaintiffs

   have seemingly ignored the thousands of documents Defendants have produced—many in native

   format—going so far as improperly accusing foul play with production of documents. (See DE

   [105] Ex. 15 (writing “I know what you did”)). This Court has already heard discovery issues

   and has issued rulings denying Plaintiffs’ sought relief regarding same. (DE [106, 107, 124])

   Any argument or evidence regarding claims that Defendants withheld documents or engaged in

   discovery abuses is false, not relevant to Plaintiffs’ infringement claims and is unfairly

   prejudicial. F.R.E. 401, 402, 403. The Court should preclude Plaintiffs from introducing the

   same at trial. Habersham, 2011 WL 13216995, at *6 (granting defendants’ request to preclude

   argument on alleged withheld documents and discovery abuses).

          7. Evidence of Insurance Coverage or an Insurance Policy Should be Excluded.

          Defendants seek to exclude evidence about Defendants’ insurance coverage because it is

   irrelevant and prejudicial. Under Federal Rule of Evidence 411, “[e]vidence that a person was or

   was not insured against liability is not admissible to prove whether the person acted negligently

   or otherwise wrongfully.” In addition, the “advisory committee note to Federal Rule 411

   indicates that ‘knowledge of the presence or absence of liability insurance would induce juries to

   decide cases on improper grounds.”’ Higgins v. Hicks Co., 756 F.2d 681, 685 (8th Cir. 1985).

   Thus, evidence or arguments indicating that any Defendant was insured against the loss claimed

   by Plaintiffs is improper. See, e.g., Hodgetts v. City of Venice, No. 8:11-cv-00144-EAK-EAJ,

   2011 WL 2183709, at *2 (M.D. Fla. June 6, 2011) (granting defendant’s motion in limine




                                                    9
Case 1:20-cv-20079-AHS Document 144 Entered on FLSD Docket 05/03/2021 Page 10 of 13




   excluding existence of insurance coverage); Jetport, Inc. v. Landmark Aviation Miami, LLC, No.

   1:16-CV-23303-UU, 2017 WL 7734085, at *2 (S.D. Fla. July 26, 2017) (same).

          Testimony and arguments about liability insurance are improper and all documents

   referencing any liability insurance must be redacted if used at trial. See, e.g., King v. Harrington,

   447 F.3d 531, 533 (7th Cir. 2006) (holding that court did not err in excluding evidence of

   defendant’s liability insurance and redacting police report to eliminate references to defendant's

   insurance). Accordingly, there should be no mention—whether by documentary evidence,

   testimony, questioning, or argument—regarding the existence of any Defendant’s insurance.

   This type of evidence, testimony, argument, and questioning is irrelevant to the issues, and, if

   admitted, would unfairly prejudice the jury into thinking, for example, that any award against

   Defendants would be inconsequential to them.

          8. Evidence Concerning Selection and Arrangement of Munro’s Works Should Be
             Excluded.

          In this case, Plaintiffs are not claiming that Defendants have selected and arranged the

   lights in the same manner that Plaintiffs have displayed Munro’s lights. SOF ¶ 30. Generally, a

   copyright plaintiff may claim that a defendant has infringed the “selection and arrangement” of

   their work. Feist Publications, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 348, (1991). Because

   selection and arrangement and layout is not at issue, the Court should not permit Plaintiffs to

   introduce at trial any evidence or testimony as to the selection and arrangement of Munro’s

   works. Any such evidence or testimony would be unnecessarily confusing for the jury in light of

   the fact that Plaintiffs’ works are exhibited in different, specific arrangements depending on the

   landscape of each exhibition venue, how Munro feels, and together with other lights not at issue

   in this case. SOF ¶¶ 29–30, 32. Accordingly, because Plaintiffs have claimed selection and

   arrangement is not at issue, allowing any such discussion or testimony would confuse the jury



                                                    10
Case 1:20-cv-20079-AHS Document 144 Entered on FLSD Docket 05/03/2021 Page 11 of 13




   and could reasonably allow it to conclude that Plaintiffs are seeking more than protection in the

   stick-and-bulb and firefly lights.

          9. Documents Plaintiffs Produced After the Discovery Cutoff Should be Excluded.

          When a party fails to provide information required by Rule 26(a), “the party is not

   allowed to use that information or witness to supply evidence on a motion, at a hearing, or at a

   trial, unless the failure was substantially justified or is harmless.” Fed. R. Civ. P. 37(c)(1). Rule

   37 operates as an “automatic and mandatory” sanction of exclusion from hearing, motion, or

   trial. Brown v. NCL (Bahamas) Ltd., 190 F. Supp. 3d 1136, 1141 (S.D. Fla. 2016); see Goodman-

   Gable-Gould Co. v. Tiara Condo. Ass’n, Inc., 595 F.3d 1203, 1210 (11th Cir. 2010) (affirming

   exclusion of undisclosed evidence and theories and dismissal of counterclaims because no

   damages were proven).

          The burden is on the non-disclosing party to defeat exclusion through a showing of

   justification for non-disclosure or its harmlessness. Mitchell v. Ford Motor Co., 318 F. App’x

   821, 824 (11th Cir. 2009) (non-disclosing party bears burden) (granting summary judgment in

   defendant’s favor and affirming striking of expert’s testimony based, in part, on information not

   timely disclosed). “Substantial justification” requires a “genuine dispute about compliance”—

   that is “whether the party was required to comply with the disclosure request.” Earle v. State

   Farm Fla. Ins. Co., No. 6:07-cv-17-orl-31DAB, 2008 WL 53916, at *1–2 (M.D. Fla. Jan. 2,

   2008) (granting motion to strike and excluding expert opinions as not timely disclosed).

          Defendants simply request that Plaintiffs not be permitted to disclose at trial any

   documentation or other evidence that was not timely produced within the discovery timeframe.

   More specifically, Plaintiffs produced large tranches of financial documents after the January 22,

   2021 discovery cutoff and after the conclusion of Plaintiffs’ witness depositions. As Defendants

   began to depose Studio corporate designees and witnesses in December 2020, it became clear


                                                     11
Case 1:20-cv-20079-AHS Document 144 Entered on FLSD Docket 05/03/2021 Page 12 of 13




   that they were not competent to testify on designated financial matters, necessitating the

   deposition of Ronald Bicker after the January 22 close of discovery. (See DE [105] at 4). At 4

   p.m. on February 9, 2021—the day before Mr. Bicker’s deposition, and several weeks after the

   close of discovery—Plaintiffs produced 2,442 pages of financial documents related to the

   exhibition of Munro’s works. Plaintiffs then produced several hundred pages of invoices and

   royalty statements the day after Mr. Bicker’s deposition (despite Defendants seeking this

   information beginning in June 2020). The last-minute and after-the-fact productions of several

   thousand documents relevant to Studio financials, some from years prior, and pertinent to Mr.

   Bicker’s testimony (and testimony of other Rule 30(b)(6) witnesses) is egregious and deprived

   Defendants of a reasonable opportunity to effectively conduct discovery. They should not be

   permitted to rely on any of these documents at trial. See Harris Corp. v. Ruckus Wireless, Inc.,

   No. 6:11-CV-618-ORL-41, 2015 WL 3671355, at *7 (M.D. Fla. June 12, 2015) (excluding late-

   produced documents per Rules 16(f) and 37(c) because they “effectively precluded [the

   defendant] from engaging in related discovery, which [it] would have otherwise had the

   opportunity to pursue”).

                                            CONCLUSION

          For the foregoing reasons, Defendants respectfully request that the Court grant this

   omnibus motion in limine on all matters listed above.




                                                   12
Case 1:20-cv-20079-AHS Document 144 Entered on FLSD Docket 05/03/2021 Page 13 of 13




                    GOOD FAITH CERTIFICATION PER LOCAL RULE 7.1

          Counsel for Defendants certifies that she has attempted to confer on April 30 and May 3

   with all parties or nonparties who may be affected by the relief sought in a good faith effort to

   resolve the issues raised in the motion. Counsel for Plaintiffs did not respond to the

   undersigned’s efforts by the time this motion was filed.

   Dated: May 3, 2021.



                                                Respectfully Submitted,
                                                SHULLMAN FUGATE PLLC

                                                Allison S. Lovelady
                                                Deanna K. Shullman (FBN 514462)
                                                Allison S. Lovelady (FBN 70662)
                                                Giselle M. Girones (FBN 124373)
                                                James M. Slater (FBN 111779)
                                                2101 Vista Parkway, Suite 4006
                                                West Palm Beach, FL 33411
                                                Tel: (561) 614-2592
                                                dshullman@shullmanfugate.com
                                                alovelady@shullmanfugate.com
                                                ggirones@shullmanfugate.com
                                                jslater@shullmanfugate.com

                                                Attorneys for Defendants




                                                   13
